Case 1:21-cv-03354-BAH Document 101-5 Filed 09/29/23 Page 1 of 4




            EXHIBIT 4
9/28/23, 12:21 PM   Case 1:21-cv-03354-BAH Document 101-5    Filed 09/29/23 Page 2 of 4
                                                      PrintTemplate



Newsmax
Rudy Giuliani to Newsmax: Defense Fund Can Help
Us Go on 'Offensive'
Saturday, September 9, 2023 12:41 PM

By: Eric Mack

While Democrats and prosecutors have put former President Donald Trump
and his backers on defense, former New York City Mayor Rudy Giuliani told
Newsmax on Saturday his legal defense fund will be put to work to go on
offense against weaponized justice.

"There are one or two cases that we could bring, offensive cases, that maybe
could cut these off and we don't have the resources for that," Giuliani told
"Saturday Report," pitching his RudyFund.com.

"I've had to do things here in these cases, and sometimes I wouldn't do,
because we didn't have the money to do it."

Prosecutors have the unlimited resources of taxpayer dollars and even Wall
Street millions seeking to defeat Trump and keep him from returning to the
White House, Giuliani warned to host Rita Cosby, saying the offense and
defense can stop the election interference "if we had the proper amount of
money like they have."

"You know where the money's coming from," Giuliani said. "It's coming from
the people who want to destroy our country. This is not a battle just about —
as Donald Trump has said — Donald Trump or Rudy Giuliani or Peter
Navarro.

"This is probably the worst political witch hunt — I don't think we've ever had
anything like this in history."

Giuliani's comments come as former White House senior adviser Peter
Navarro has been convicted of contempt of Congress for refusing to respond
to a House Jan. 6 select committee subpoena. Navarro is planning an
appeal.

"Rita, I happened to have been with the former president when we found out
about the verdict of our friend Peter," Giuliani said. "This is horrible. I don't
know how to describe it to my fellow Americans, except trust me, gosh

https://www.newsmax.com/PrintTemplate.aspx/?nodeid=1133855                                1/3
9/28/23, 12:21 PM   Case 1:21-cv-03354-BAH Document 101-5    Filed 09/29/23 Page 3 of 4
                                                      PrintTemplate

almighty, I served the law all my life, and except for now with these fascists,
I'v never had a single complaint about anything I ever did."

Navarro does not deserve the political persecution at the hand of President
Joe Biden's Justice Department, according to Giuliani.

"Pete Navarro is about as honest a man as you're going to meet," Giuliani
said. "I don't think there's a person in the Biden administration that could
wipe his shoes."

Giuliani denounced the politicized justice under Biden and former President
Barack Obama, whose administration was trafficking guns under former
Attorney General Eric Holder, who refused to testify before Congress.

"He wouldn't testify, and they didn't hold him in contempt for one minute,"
Giuliani said.

The weaponization of justice against good man like Navarro is akin to a Third
World country or a dictatorship, Giuliani continued.

"To do this to this man is an act of complete — it's not an act of political
anything — it's an act of fascism," he said. "This is what a fascist government
does. This is what a communist government does. This is what a government
under [Josef] Stalin or [Adolf] Hitler or Mao [Zedong] does."

Navarro was claiming executive privilege under Trump and has been fighting
against the subpoena to protect the authority of the U.S. president against a
politicized Congress and Justice Department, Giuliani warned.

"This is not a criminal case," he said of Navarro's case. "This is a dispute that
should be decided by a court. The court will say, 'no privilege, privilege; you
have the documents, you don't have the documents.'

"We have done that 1,000 times in our history, when we didn't have maniacs
and communists and dictators and people of unsound mind in the White
House."

Democrats and Biden's henchmen are going after their political rivals from
the top down, according to Giuliani.

"I don't know when this ends because there are hundreds of these cases," he
added. "They focus on me. They focus on Donald Trump. They focused on
Peter because we were high-level people."


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9/28/23, 12:21 PM   Case 1:21-cv-03354-BAH Document 101-5    Filed 09/29/23 Page 4 of 4
                                                      PrintTemplate

As for his own defense, Giuliani is among those accused by Fulton Country
District Attorney Fani Willis of having sought to challenge the 2020
presidential election in Georgia.

"The case should be thrown out because it's been infected by this grand
jury," Giuliani said of the initial special grand jury that heard Willis' case and
took testimony from many of those ultimately indicted in the racketeering
case. "You know the fruit of the poison tree doctrine? It's very old one,
ancient one, coming from a liberal court.

"The case should be thrown out because this is a completely infected case."

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